
PER CURIAM.
The petition for belated appeal is granted. Petitioner shall be allowed a belated appeal of the May 15, 2006, judgment and sentence in Escambia County Circuit Court case numbers 05-4390-CFA and 05-4848-CFA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel, the trial *749court shall appoint counsel to represent petitioner on appeal.
PETITION GRANTED.
KAHN, POLSTON, and THOMAS, JJ„ concur.
